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                                 UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION

 DEALDASH OYJ and DEALDASH INC.                )      Case No. 3:18-cv-02353-MMC
     Plaintiffs,                               )
                                               )
 v.                                            )      CERTIFICATE OF SERVICE
                                               )
 CONTEXTLOGIC INC. d/b/a WISH                  )
        Defendant.                             )
 _____________________________________________ )




______________________________________________________________________________________________
                                                                            CERTIFICATE OF SERVICE
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                                       CERTIFICATE OF SERVICE

 I, Erika H. Warren, declare as follows:
          I am an associate at the law firm of Warren Lex LLP, in the City and County of San Francisco, and
 State of California. My business address is 2261 Market Street, No. 606, San Francisco, California,
 94114.
          Counsel for defendant ContextLogic Inc. appeared on the Court’s CM/ECF system in this matter
 on Friday, April 27, 2018. I certify that today I also served true copies of the Court’s April 30, 2018, Case

 Management Conference Order as well as the Standing Orders for Civil Cases Assigned to the Honorable
 Maxine M. Chesney on defendant’s counsel in this matter by mail as follows:

          Dwight D. Lueck
          Bradley R. Love
          Barnes & Thornburg LLP
          11 South Meridian Street
          Indianapolis, Indiana, 46204-3535

          Attorneys for ContextLogic Inc.

          I enclosed the foregoing documents in a sealed envelope addressed as shown above, and I

 deposited the sealed envelope with the United States Postal Service in San Francisco, California, using
 First Class Mail, with the postage fully prepaid.
          I declare under penalty of perjury that the foregoing is true and correct. Executed on May 2, 2018,

 in San Francisco, California.



                                                     By: ______________________
                                                         Erika H. Warren




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_______________________________________________________________________________________
                                                                   CERTIFICATE OF SERVICE
